       Case 2:13-cv-20000-RDP Document 2940 Filed 09/07/22 Page 1 of 3                    FILED
                                                                                 2022 Sep-07 PM 01:09
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

                              )
IN RE: BLUE CROSS BLUE SHIELD )
ANTITRUST LITIGATION (MDL No. )
                                Master File No. 2:13-CV-20000-
2406)                         )
                                RDP
                              )
                              )

                             NOTICE OF APPEAL

      Self-Funded Subclass Objectors Topographic, Inc. and Employee Services,

Inc. hereby give notice of their appeal to the United States Court of Appeals for the

Eleventh Circuit from the final judgment in this action entered by the District Court

on August 9, 2022 (Doc. 2931), and amended on September 7, 2022 (Doc. 2939),

along with all interlocutory rulings leading up to the final judgment and all

subsequent orders premised thereon, including but not limited to the order awarding

fees and costs to class counsel (Doc. 2932).




                                         1
     Case 2:13-cv-20000-RDP Document 2940 Filed 09/07/22 Page 2 of 3




     Respectfully submitted this 7th day of September, 2022.

                                                  s/J. Thomas Richie
                                          One of the Attorneys for Objectors

OF COUNSEL
Michael R. Pennington
J. Thomas Richie
Emily M. Ruzic
BRADLEY ARANT BOULT CUMMINGS LLP
1819 Fifth Avenue North
Birmingham, AL 35203-2119
Telephone: (205) 521-8000
Facsimile: (205) 521-8800
mpennington@bradley.com
trichie@bradley.com
eruzic@bradley.com

Scott Burnett Smith
BRADLEY ARANT BOULT CUMMINGS LLP
200 Clinton Avenue West, Suite 900
Huntsville, AL 35801-4900
Telephone: (256) 517-5100
Facsimile: (256) 517-5200
ssmith@bradley.com

Richard D. Nix
Henry D. Hoss
M. Richard Mullins
Mark D. Spencer
MCAFEE & TAFT A PROFESSIONAL CORPORATION
Eighth Floor, Two Leadership Square
211 N. Robinson
Oklahoma City, OK 73102
Telephone: (405) 235-9621
Facsimile: (405) 235-0439
richard.nix@mcafeetaft.com
henry.hoss@mcafeetaft.com
richard.mullins@mcafteetaft.com
mspencer@mcafeetaft.com
                                      2
       Case 2:13-cv-20000-RDP Document 2940 Filed 09/07/22 Page 3 of 3




                          CERTIFICATE OF SERVICE

      I hereby certify that on September 7, 2022, the foregoing was electronically

filed with the Clerk of Court using the CM/ECF system which will send notification

of such filing to all counsel of record.

                                                   /s/ J. Thomas Richie
                                                     J. Thomas Richie




                                           3
